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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

MARYLAND, et al.,                             *

                Plaintiffs,                   *

       v.                                     *

UNITED STATES DEPARTMENT OF                   *       Case No. 1:25-cv-00748-JKB
AGRICULTURE, et al.,
                                              *
                Defendants.
                                              *

                                              *

            *    *       *    *    *      *       *      *     *     *     *       *


                MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiffs, through counsel, move for a temporary restraining order as set forth

below and for the reasons set forth in the accompanying Memorandum of Law in Support

of Plaintiffs’ Motion for a Temporary Restraining Order. Fed. R. Civ. P. 65(a), (b).

Plaintiffs seek to restrain and enjoin Defendants, from terminating federal probationary

employees without making specific, individualized determinations regarding the

inadequacy of the employee’s conduct or performance, or without complying with

requirements applicable to Reductions in Force procedures. Plaintiffs further seek an order

reinstating probationary employees unlawfully fired by Defendants, and an order

compelling Defendants to file a status report with the Court within 48 hours, and at regular

intervals thereafter, identifying terminated probationary employees and describing the

steps Defendants have taken to comply with the Court’s Order.
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       The requested relief is warranted because Plaintiffs are likely to show that the

Defendants actions violate the Administrative Procedure Act and are ultra vires;

Defendants’ ongoing, unlawful mass firings of federal probationary employees are causing

Plaintiff States irreparable injury in multiple ways; and the balance of hardships and the

public interest are both in Plaintiffs’ favor.

       WHEREFORE, Plaintiffs request that the Court enter an order:

           A. Temporarily restraining Defendants from terminating federal probationary

              employees without making specific, individualized determinations regarding

              the inadequacy of the employee’s conduct or performance;

           B. Compelling Defendants to reinstate federal probationary employees fired on

              or after January 20, 2025, as part of mass terminations that did not comply

              with RIF procedures and were not based on individual determinations of

              conduct or performance;

           C. Requiring Defendants to file a status report with the Court within 48 hours,

              and at regular intervals thereafter, identifying under seal all probationary

              employees terminated on or after January 20, 2025 (including the following

              information for each employee: agency, name, position title, grade,

              termination date, whether the probationary employee has been reinstated, and

              the date of any reinstatement) and describing all steps Defendants have taken

              to comply with the Court’s Order.




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                                                 Respectfully submitted,

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* Pro hac vice application
forthcoming
**Application for admission
pending



March 7, 2025                            Attorneys for Plaintiffs




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                            CERTIFICATE OF SERVICE

      I certify that, on this 7th day of March, 2025 the motion for temporary restraining

order, supporting memorandum of law and proposed order were served by CM/ECF on all

registered CMF users and by first-class mail on the following:



                    UNITED STATES DEPARTMENT OF
                    AGRICULTURE,
                    1400 Independence Avenue, S.W.,
                    Washington, DC 20250

                    BROOKE ROLLINS, in her official Capacity
                    as Secretary of Agriculture,
                    1400 Independence Avenue, S.W.
                    Room 214W, Whitten Building
                    Washington, DC 20250

                    UNITED STATES DEPARTMENT OF
                    COMMERCE,
                    1401 Constitution Avenue, N.W.
                    Washington, DC 20230

                    HOWARD LUTNICK, in his Official Capacity
                    as Secretary of Commerce,
                    1401 Constitution Avenue, N.W.
                    Washington, DC 20230

                    UNITED STATES DEPARTMENT OF
                    DEFENSE,
                    1000 Defense Pentagon
                    Washington, DC 20301-1400

                    PETER HEGSETH, in his Official Capacity as
                    Secretary of Defense,
                    1000 Defense Pentagon
                    Washington, DC 20301-1400

                    UNITED STATES DEPARTMENT OF
                    EDUCATION,


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           400 Maryland Avenue, S.W.
           Washington, DC 20202

           LINDA MCMAHON, in her Official Capacity
           as Secretary of Education,
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           Washington, DC 20202

           UNITED STATES DEPARTMENT OF
           ENERGY,
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           Washington, DC 20024

           CHRISTOPHER WRIGHT, in his Official
           Capacity as Secretary of Energy,
           1000 Independence Avenue, S.W.
           Washington, DC 20024

           UNITED STATES DEPARTMENT OF
           HEALTH AND HUMAN SERVICES,
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           Washington, D.C. 20201

           ROBERT F. KENNEDY, JR., in his Official
           Capacity as Secretary of Health and Human
           Services,
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           KRISTI NOEM, in her Official Capacity as
           Secretary of Homeland Security,
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           Washington, DC 20201

           UNITED STATES DEPARTMENT OF
           HOUSING AND URBAN DEVELOPMENT,
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           Washington, DC 20410


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            SCOTT TURNER, in his Official Capacity as
            Secretary of Housing and Urban Development,
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            Washington, DC 20410

            UNITED STATES DEPARTMENT OF
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            Washington, DC 20240

            DOUGLAS BURGUM, in his Official Capacity
            as Secretary of the Interior,
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            Washington, DC 20240

            UNITED STATES DEPARTMENT OF
            LABOR,
            200 Constitution Avenue, N.W.
            Washington, DC 20210

            VINCE MICONE, in his Official Capacity as
            Acting Secretary of Labor,
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            Washington, DC 20210

            UNITED STATES DEPARTMENT OF
            TRANSPORTATION,
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            Washington, DC 20590

            SEAN DUFFY, in his Official Capacity as
            Secretary of the Transportation,
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            Washington, DC 20590

            UNITED STATES DEPARTMENT OF
            TREASURY,
            1500 Pennsylvania Avenue, N.W.
            Washington, DC 20220

            SCOTT BESSENT, in his Official Capacity as
            Secretary of the Treasury,


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            BUREAU,
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            Insurance Corporation,


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                                       /s/ James D. Handley
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